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                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Leah Bogdanowicz, being first duly sworn, hereby depose and state as follows:

                              Introduction and Agent Background

       1.   I make this affidavit to show that probable cause exists to believe that on or about

January 20, 2025, within the District of Vermont, Teresa Youngblut (hereinafter,

"YOUNGBLUT") intentionally used a deadly weapon-a firearm-while forcibly assaulting,

resisting, opposing, impeding, intimidating, or interfering with Border Patrol Agents while they

engaged in--or on account of the performance of-their official duties in violation of 18 U.S.C.

§ 11 l(a) and (b). Further, there is probable cause to believe that YOUNGBLUT used and

discharged the firearm during and in relation to the assault with a deadly weapon, which

constitutes a crime of violence, in violation of 18 U.S.C. § 924(c)(l)(A)(iii).

       2.   I am a Special Agent of the Federal Bureau oflnvestigation (FBI), an agency of the

Department of Justice. I am empowered to investigate and make arrests for offenses of Title 18

of the United States (U.S.) Code. I have been a Special Agent of the FBI since December 2021.

Prior to my employment with the FBI, I worked at PricewaterhouseCoopers in their Risk

Assurance division for almost ten years, ending my employment as a Senior Manager. During

my time at PricewaterhouseCoopers, I performed information technology audits and

consultations on several Fortune 500 companies, including banking clients and other large

financial institutions. My education includes a master's degree in Accounting and a minor in

Information Systems.


       3.   During my employment with the FBI, I have been trained in various aspects of law

enforcement, including criminal and national security investigations. I have received training on

and have investigated a variety of federal crimes involving cyber intrusions and computer fraud.


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I have experience regarding these federal violations through my daily investigative

responsibilities and extensive training. For example, I have attended classes and trainings dealing

with computer crimes and fraud, including how computer networks operate, methods employed

by criminals to infiltrate computer networks and commit other crimes, the purpose of the

intrusions, and the numerous types of fraudulent schemes that perpetrators of computer crimes

carry out after gaining access to computer networks.

       4.    As a Special Agent of the FBI, I am responsible for conducting criminal

investigations of criminal statutes contained in Title 18 of the United States Code, including

assaults on federal officers. I have participated in the investigation of individuals for various

violations of Title 18 of the United States Code. Through these investigations, my training,

experience, and conversations with other law enforcement officers, I have become familiar with

communication methods used by criminal subjects in various types of criminal enterprises,

including communication by cellular telephones, Internet-based communication applications, and

social media sites.

       5.    Because this Affidavit is being submitted for the limited purpose of establishing

probable cause, it does not include all the facts that I have learned during the course of the

investigation. Where the contents of documents and the actions, statements, and conversations of

others are reported herein, they are reported in substance and in part, except where otherwise

indicated.

                                          Probable Cause

       6.    On January 20, 2025, at approximately 3:00 pm, an on-duty, uniformed United

States Border Patrol (USBP) Agent initiated a stop of a blue 2015 Toyota Prius Hatchback with

North Carolina license plate number KLA2040 to conduct an immigration inspection as it was



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driving southbound on Interstate 91 in Coventry, Vermont. The registered owner of the vehicle,

Felix Baukholt, a citizen of Germany, appeared to have an expired visa ina Department of

Homeland Security database. YOUNGBLUT was driving the Prius, and Baukholt was the lone

passenger in the Prius. Multiple uniformed Border Patrol Agents were present at the stop in three

USBP vehicles with emergency lights illuminated.

       7.   Between approximately 3:00 pm and 3:15 pm, agents reported gunshots at the scene.

Supervisory Border Patrol Agent (SBPA) Cameron Thompson was notified of the incident and

responded to the scene of the stop, arriving at approximately 3:35 pm. He spoke with two of the

Border Patrol Agents involved in the incident. They described that both Baukholt and

YOUNGBLUT possessed firearms and that YOUNGBLUT drew and fired a handgun toward at

least one of the uniformed Border Patrol Agents without warning when outside the driver's side

of the Prius. 1 Baukholt then attempted to draw a firearm. At least one Border Patrol Agent fired

at YOUNGBLUT and Baukholt with his service weapon.

       8.   The exchange of gunfire resulted in Border Patrol Agent Maland, YOUNGBLUT,

and Baukholt all sustaining gunshot wounds. Baukholt was declared deceased at the scene as a

result of his injuries. Border Patrol Agent Maland was transported to North County Hospital for

emergency care, but he was pronounced deceased at the facility at approximately 4:00 pm.

YOUNGBLUT was transported from the scene to North County Hospital for emergency medical

treatment and was ultimately taken to the Dartmouth-Hitchcock Medical Center in New

Hampshire, where she is presently receiving in-patient medical care.



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  As of the time of this application, formal interviews with the surviving Border Patrol Agents at
the scene have not been conducted due to interagency constraints following an agent-involved
use of deadly force. The information contained herein is based on statements from the involved
Agents related to me by law enforcement who responded to the scene during and immediately
after the exchange of gunfire.
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       9.       Prior to the Prius being towed from the scene, a combination of Vermont State

Police (VSP) Bomb Squad members, an FBI Special Agent Bomb Tech, and an ATF Special

Agent Bomb Tech used remote technology-including a robot-to inspect and render the Prius

safe based on concerns that it could contain explosive materials. The process involved the

removal of some of the Prius' s contents. All of the contents were either returned to the Prius in

plastic trash bags prior to the towing or packaged and transferred to FBI custody for further

examination pursuant to a search warrant.

       10. After the Bomb Squad rendered the Prius safe as described above in paragraph 9, a

VSP Crime Scene Search Team (CSST) documented and collected evidence from the scene of

the stop. Among the items located and collected were:

            •     An M&P Shield EZ model .380-caliber pistol resting on the hood of a USBP

                  Chevrolet Tahoe,

            •     A Glock model 23 .40-caliber pistol resting on the hood of a USBP Ford Fl 50,

            •     A .40-caliber Glock magazine on the hood of the USBP Ford F150,

            •     A .40-caliber Glock magazine on the ground between the USBP Ford F150 and

                  the Prius,

            •     A silver ammunition magazine on the ground between the USBP Ford Fl 50 and

                  the Prius, and

            •     Spent ammunition casings and intact ammunition cartridges on the ground: seven

                  spent 9-millimeter casings, two spent .40-caliber casings, one intact .40-caliber

                  cartridge, and one intact .380-caliber cartridge.

       11. I am aware, from a conversation with Border Patrol Agent-Intel (BPA-1) James

Loomis, an intelligence agent assigned to the Newport Border Patrol Station and a Task Force


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Agent with the Bureau of Alcohol, Tobacco, Firearms, and Explosives (ATF), that the agents at

the scene would have each been carrying exclusively 9-millimeter service pistols. I am further .

aware, from my training and experience, that the agents likely would have seized any handguns

from suspects involved in the incident and cleared them by removing the magazine and opening

the slide to eject any chambered cartridge before placing the firearms in a safe location, such as

the hood of a law enforcement vehicle. Based on the information I received from SBPA

Cameron Thompson, partially described above in paragraph 7, the .40-caliber Glock 23 was

secured from on or near YOUNGBLUT after the incident, and the .380-caliber M&P Shield was

secured from on or near Baukholt after the incident. The evidence located by CSST members

would therefore be consistent with YOUNGBLUT having fired the .40-caliber Glock 23 at least

twice from the driver's side of the Prius, one or more Border Patrol Agents returning fire with at

least seven 9-millimeter shots, and then agents clearing the Glock 23 40-caliber and M&P Shield

.380-caliber pistols, resulting in the described casings and cartridges being on the ground.

        12. When searching the scene of the stop, CSST members also located a Washington-

state driver's license in the name of Teresa Youngblut on the ground near the driver's side of the

Prius. The CSST members also collected two packets of suspected cell phones wrapped in what

appeared to be aluminum foil that were left behind the USBP Tahoe after the Bomb Squad

clearance. The wrapped items are suspected to be cell phones based upon x-ray imagery taken by

the Bomb Squad. When inspecting the Prius using the robotic equipment, the Bomb Squad

observed several additional electronic devices in the Prius, to include an Apple iPhone, at least

two additional cell phones, and multiple laptop computers.

        13. Based on my conversations with law enforcement officers, Baukholt and

YOUNGBLUT were observed by investigators prior to the stop of the Prius on Interstate 91



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between the approximate hours of 11 :30 and 2:35 pm at the Wal-Mart located at 115 Seymour

Drive in Newport, Vermont. They observed Baukholt enter the Wal-Mart at approximately 1:00

pm and came out with what was later confirmed by Wal-Mart employees to be two packages of

aluminum foil. YOUNGBLUT remained in the Prius in the driver's seat. When Baukholt

returned to the vehicle, he was seen removing sheets of foil and wrapping unidentifiable objects

while seated in the passenger seat. While in the Wal-Mart parking lot, investigators observed

Baukholt making at least one phone call on a cell phone outside of the Prius; he was then

observed entering the Prius with the cell phone and was not observed discarding it between the

observed phone call and the later stop.

       14. Investigators had been performing periodic surveillance ofBaukholt and

YOUNGBLUT since on or about Tuesday, January 14, 2025. A concerned citizen-an employee

of a hotel in Lyndonville, Vermont--contacted law enforcement after a male and a female had

checked into the hotel to report concerns about them, including that they appeared to be dressed

in all-black tactical style clothing with protective equipment, with the woman, later identified as

YOUNGBLUT, carrying an apparent firearm in an exposed-carry holster. Investigators with

VSP and Homeland Security Investigations attempted to initiate a consensual conversation with

Baukholt and YOUNGBLUT, but they declined to have an extended conversation, claiming that

they were in the vicinity to look at purchasing property. After the contact with law enforcement,

the pair checked out of the Lyndonville hotel on the afternoon of January 14, 2025. Investigators

later observed the pair in similar tactical dress on Sunday, January 19, 2025, walking in

downtown Newport; YOUNGBLUT was observed carrying a handgun at that time.

        15. On January 21, 2025, I applied for and received a federal search warrant for the 2015

Toyota Prius occupied by YOUNGBLUT and Baukholt at the time of the stop under District of



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Vermont case number 2:25-mj-5. FBI agents searched the contents of the Prius on the evening of

January.21, 2025, and I have reviewed a preliminary list of pertinent items seized from the Prius

pursuant to the warrant. Among those items, I note that the Prius contained various pieces

tactical gear-including a ballistic helmet, night-vision-goggle monocular, a tactical belt with

holster, and a magazine loaded with cartridges; two full-face respirators; 48 rounds of .380-

caliber jacketed hollow point ammunition; a package of shooting range targets (some of which

were used); two handheld two-way radios; approximately a dozen electronic devices and

multiple removable electronic storage devices; documents containing identification, utility, lease,

travel, and lodging information pertaining to multiple states; and an apparent journal found

among YOUNGBLUT's identification documents.

                                           Conclusion

       16. Based on the foregoing, I submit that there is probable cause to believe that on or

about January 20, 2025, within the District of Vermont, Teresa YOUNGBLUT intentionally

used a deadly weapon-a firearm-while forcibly assaulting, resisting, opposing, impeding,

intimidating, or interfering with Border Patrol Agents while they engaged in-or on account of

the performance of-their official duties in violation of 18 U.S.C. § 11 l(a) and (b). Further, there

is probable cause to believe that YOUNGBLUT used and discharged the firearm during and in

relation to the assault with a deadly weapon, which constitutes a crime of violence, in violation

of 18 U.S.C. § 924(c)(l)(A)(iii). I respectfully request the Court issue a criminal complaint

charging her accordingly and a warrant for her arrest.

       Dated at Burlington, in the District of Vermont, this   __arday of January, 2025.

                                          Leah~-
                                          Federal Bureau oflnvestigation

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Subscribed and sworn to before me in Burlington, Vermont on this 2 2- day of January, 2025.




                                       United States District Court
                                       District of Vermont




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